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 7                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
 8                                 AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                 Plaintiff,    )            CASE NO.        05-419 M
                                 )
12          v.                   )
                                 )
13                               )            DETENTION ORDER
    ARTEMIO ROJAS-MARTINEZ, )
14    (aka ARTURO)               )
                Defendant.       )
15 ______________________________)
16 Offenses charged:
17          Count 1:      Conspiracy to Distribute Methamphetamine, in violation of Title 21,
18                        U.S.C., Sections 841(a)(1) and 841(b)(1)(A) and 846;
19          Count 5:      Distribution of Methamphetamine, in violation of Title 21, U.S.C.,
20                        Sections 841(a) and 841(b)(1)(B);
21          Count 6:      Distribution of Methamphetamine, in violation of Title 21, U.S.C.,
22                        Sections 841(a) and 841(b)(1)(B);
23          Count 7:      Distribution of Methamphetamine, in violation of Title 21, U.S.C.,
24                        Sections 841(a) and 841(b)(1)(B).
25 Date of Detention Hearing: August 29, 2005.
26          The Court, having conducted an uncontested detention hearing pursuant to Title

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 1 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
 2 detention hereafter set forth, finds that no condition or combination of conditions which the
 3 defendant can meet will reasonably assure the appearance of the defendant as required and
 4 the safety of any other person and the community. The Government was represented by
 5 Patricia Lally. The defendant was represented by Catherine Chaney.
 6           The Government filed a Motion for Detention, to which the defendant stipulated.
 7       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 8           (1)    There is probable cause to believe the defendant committed the
 9                  conspiracy drug offense. The maximum penalty is in excess of ten years.
10                  There is therefore a rebuttable presumption against the defendant’s
11                  release based upon both dangerousness and flight risk, under Title 18
12                  U.S.C. § 3142(e).
13           (2)    Nothing in this record satisfactorily rebuts the presumption against
14                  release for several reasons:
15                  (a)     The defendant is viewed as a risk of non-appearance because he is
16                          a citizen and national of Mexico; he has an outstanding warrant;
17                          his background and ties to the district are unknown; and BICE has
18                          filed a detainer.
19                  (b)     Due to the nature and seriousness of the crime alleged, in
20                          combination with his immigration status, unknown background,
21                          and active warrant, release of the defendant would pose a risk to
22                          the community.
23                  (c)     The defendant stipulated to detention.
24           (3)    Based upon the foregoing information which is consistent with the
25                  recommendation of U.S. Pre-trial Services, it appears that there is no
26                  condition or combination of conditions that would reasonably assure

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 1               future Court appearances and/or the safety of other persons or the
 2               community.
 3         It is therefore ORDERED:
 4         (l)   The defendant shall be detained pending trial and committed to the
 5               custody of the Attorney General for confinement in a correction facility
 6               separate, to the extent practicable, from persons awaiting or serving
 7               sentences or being held in custody pending appeal;
 8         (2)   The defendant shall be afforded reasonable opportunity for private
 9               consultation with counsel;
10         (3)   On order of a court of the United States or on request of an attorney for
11               the Government, the person in charge of the corrections facility in which
12               the defendant is confined shall deliver the defendant to a United States
13               Marshal for the purpose of an appearance in connection with a court
14               proceeding; and
15         (4)   The clerk shall direct copies of this order to counsel for the United
16               States, to counsel for the defendant, to the United States Marshal, and to
17               the United States Pretrial Services Officer.
18         DATED this 30th day of August, 2005.
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21
                                                    A
                                                    MONICA J. BENTON
22                                                  United States Magistrate Judge

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